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                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                                  www.flsb.uscourts.gov

       In re: Juan Martinez                                               Case No. 19-14799-LMI

                                                                          Chapter 13
                                Debtor(s)     /

                                       OMNIBUS OBJECTION TO CLAIM

                                    IMPORTANT NOTICE TO CREDITOR:
                                  THIS IS AN OBJECTION TO YOUR CLAIM

               This objection seeks either to disallow or reduce the amount or change the
        priority status of the claim filed by you or on your behalf. Please read this objection
        carefully to identify which claim is objected to and what disposition of your claim is
        recommended.

               If you disagree with the objection or the recommended treatment, you must
        file a written response WITHIN 30 DAYS from the date of service of this objection,
        explaining why your claim should be allowed as presently filed, and you must serve
        a copy to the undersigned [attorney][trustee] OR YOUR CLAIM MAY BE DISPOSED
        OF IN ACCORDANCE WITH THE RECOMMENDATION IN THIS OBJECTION.

              If your entire claim is objected to and this is a chapter 11 case, you will not
        have the right to vote to accept or reject any proposed plan of reorganization until
        the objection is resolved, unless you request an order pursuant to Bankruptcy Rule
        3018(a) temporarily allowing your claim for voting purposes.

               The written response must contain the case name, case number, and must be
        filed with the Clerk of the United States Bankruptcy Court.

                 301 North Miami Avenue, Room 150, Miami, FL 33128

        Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1, Debtor objects to the following claim(s)
        filed in this case:
        Claim                                        Amount of
        No.              Name of Claimant            Claim

        1               LVNV Funding, LLC /
                        Resurgent Capital Services      $2,164.82

        Basis for Objection and Recommended Disposition

        On or about April 17, 2019, Creditor filed a general unsecured proof of claim in the amount of
        $2,164.82 for a retail account ending in 5917 that was last paid on or about February 15, 2006 and
        charged off on or about August 22, 2006. This debt is not listed on the Debtor’s schedule “F”, which
        was obtained from the Debtor’s credit report. Further, this creditor has failed to attach any
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        substantiating backup documentation to prove its claim. Lastly, this claim is barred by the statute of
        limitations. Debtors request this claim be stricken and disallowed in its entirety.

        Claim                                            Amount of
        No.             Name of Claimant                 Claim

        11              PYOD, LLC /
                        Resurgent Capital Services       $2,355.83

        Basis for Objection and Recommended Disposition

        On or about June 19, 2019, Creditor filed a general unsecured proof of claim in the amount of
        $2,355.83 for a goods and services account ending in 0183 that was last paid on or about March 26,
        2006 and last used on or about April 2, 2006. This debt is not listed on the Debtor’s schedule “F”,
        which was obtained from the Debtor’s credit report. Further, this creditor has failed to attach any
        substantiating backup documentation to prove its claim. Lastly, this claim is barred by the statute of
        limitations. Debtors request this claim be stricken and disallowed in its entirety.

               [Comment: See also Bankruptcy Rule 9011 (effect of signature) and Local Rules 7026-1(E)
        (motions to compel discovery) and 9076-1 (electronic service).]

        WHEREFORE the above-mentioned Debtor, respectfully requests that the Court grant the relief
        sought herein.
        *Notwithstanding the requirements of Bankruptcy Rule 3007, up to five objections to claim may be
        included in one pleading. (See Local Rule 3007-1(C).)

                                            CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that a true copy of the foregoing was sent on July 23, 2019 electronically to
        Nancy K. Neidich, Trustee and mailed to:

        #1
        LVNV Funding, LLC
        Resurgent Capital Services
        c/o Deanna Gambrell, Claims Proc.
        PO Box 10587
        Greenville, SC 29603-0587

        Resurgent Capital Services, L.P.
        c/o Bryan Faliero, CEO, President
        55 Beattie Place, Suite 110,
        Greenville, SC 29601

        LVNV FUNDING LLC
        c/o Faliero, Bryan, President
        6801 S. Cimarron Road, Suite 424-J
        LAS VEGAS, NV 89113

        LVNV FUNDING LLC
        c/o Faliero, Bryan, President
        55 Beattie Place, Suite 110
        Greenville, SC 29601




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        #11
        PYOD, LLC
        Resurgent Capital Services
        c/o William Andrews, Claims Proc.
        PO Box 19008
        Greenville, SC 29602

        PYOD LLC
        c/o Faliero, Bryan, President
        6801 S. Cimarron Road, Suite 424-K
        LAS VEGAS, NV 89113

        PYOD LLC
        c/o Faliero, Bryan, President
        55 Beattie Place, Suite 110
        Greenville, SC 29601

                                          CERTIFICATE OF ADMISSION

                I HEREBY CERTIFY that I am a member of the Bar of the United States District Court for the
        Southern District of Florida and I am in compliance with the additional qualifications to practice in this Court
        set forth in Local Rule 2090-1(A).
                                                                  Respectfully Submitted:

                                                                  Robert Sanchez, P.A.
                                                                  Attorney for Debtor
                                                                  355 West 49th Street
                                                                  Hialeah, FL 33012
                                                                  Tel. 305-687-8008
                                                                  Fax. 305-512-9701

                                                                  By: /s/ Robert Sanchez________________
                                                                     [X]Robert Sanchez, Esq., FBN#0442161

        The party filing this objection to claim must file a certificate of service in accordance with Local Rule 2002-
        1(F).




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